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                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF INDIANA
                      HAMMOND DIVISION AT LAFAYETTE


JAMES LARKIN,                            )
                                         )
      Plaintiff,                         )
                                         )
      v.                                 )    CASE NO. 4:18-cv-00065-JVB-JEM
                                         )
JEFFREY ARMSTRONG, et al.                )
                                         )
      Defendants.                        )


              DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT

      Defendants, by counsel, respectfully file this motion for summary judgment.

Defendants contemporaneously file a memorandum of law in support of this motion.

Defendants move for summary judgment as there is no dispute of material fact under

Federal Rule of Civil Procedure 56 and Local Rule 56-1, and they are entitled to

judgment in their favor as a matter of law. In support, Defendants state the following:


      1.     Plaintiff, James Larkin, brings suit for alleged constitutional violations

under 42 U.S.C. § 1983. Plaintiff alleges that all Defendants used excessive force during

a cell extraction in violation of the Eighth Amendment, that all Defendants failed to

intervene to stop each other from using excessive force in violation of the Eighth

Amendment, and that Defendant Eakins used excessive force by repeatedly pepper

spraying him in violation of the Eighth Amendment.




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      2.     Larkin’s claims cannot survive summary judgment. The undisputed facts

taken in the light most favorable to Larkin show that the use of OC spray and the cell

extraction were both necessary uses of force with legitimate penological purposes.

      3.     Furthermore, Defendants are entitled to qualified immunity as it is not

clearly established that Defendants’ actions violated the Constitution.

      4.     There is no genuine issue of material fact precluding summary judgment

in Defendants’ favor, and Defendants are entitled to judgment as a matter of law.

      5.     Defendants designate the following evidence used in support of summary

judgment:


      Exhibit A: Deposition testimony of James Larkin;

      Exhibit B: Declaration of Lieutenant Eakins with attachments;

      Exhibit C: Declaration of Lieutenant Calvin Bradford;

      Exhibit D: Declaration of Captain Jeffrey Armstrong;

      Exhibit E: Plaintiff’s Responses to Defendants’ Interrogatories mailed to

      Defendants and postmarked June 9, 2020;

      ECF 1: Plaintiff’s Complaint;

      ECF 11: Opinion and Order;

      ECF 72 & 72-1: Defendants’ Response to Plaintiff’s Request for Production;

      ECF 73: Manually filed disc of responsive video recordings (redacted cell

extraction video, TASER video); and




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      ECF 85: Defendants’ Supplemental Response to Plaintiff’s Request for

Production.

      WHEREFORE, Defendants urge the Court to grant their motion for summary

judgment and grant all other just and proper relief.

                                         Respectfully submitted,

                                         OFFICE OF THE INDIANA ATTORNEY GENERAL

                                  By:    /s/ Courtney L. Abshire
                                         Courtney L. Abshire
                                         Deputy Attorney General
                                         Attorney No. 35800-49
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                              CERTIFICATE OF SERVICE

       I hereby certify that on September 18, 2020, I electronically filed the foregoing

with the Clerk of the Court using the CM/ECF system. I further certify that on

September 18, 2020, I mailed, by United States Postal Service, first-class postage

prepaid, the document to the following non-CM/ECF participants:


       James Larkin
       DOC #206339
       Indiana State Prison
       1 Park Row
       Michigan City, IN 46360
                                          By:    Courtney L. Abshire
                                                 Deputy Attorney General

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